         Case 9:17-cv-00050-DLC-JCL Document 95 Filed 05/24/18 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                                                                             FILED
                       FOR THE DISTRICT OF MONTANA                            MAY 2 4 2018
                            MISSOULA DIVISION                            Clerk, US D .
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  TANYA GERSH,
                                                    CV 17-50-M-DLC-JCL
                        Plaintiff,

  vs.                                                 ORDER

  ANDREW ANGLIN,

                        Defendant.

        Plaintiff Tanya Gersh has file a motion requesting clarification on the status

of the stay of discovery imposed pursuant to the Court's Order dated December 15,

2017. (Doc. 41 ). The Order stayed discovery "pending a decision on the motion to

dismiss, with the exception of discovery that may become necessary by the

Plaintiff once she sees the Defendant' s reply to the information Plaintiff provides

to the Court with regard to Defendant's domicile in Ohio." (Doc. 41 , at 1-2). As

discussed at preliminary pretrial conference on December 14, 2017, the purpose of

the Order was to stay discovery pending resolution of the jurisdictional challenges

raised in Defendant's Motion to Dismiss (Doc. 31 ). Those challenges were

resolved with presiding United District Court Judge Dana Christensen' s May 7,

2018, Order denying Defendant's motion to dismiss for lack of subject matter

jurisdiction pursuant to Fed. R. Civ. P. 12(b)(l) and for lack of personal

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       Case 9:17-cv-00050-DLC-JCL Document 95 Filed 05/24/18 Page 2 of 2



jurisdiction based on insufficient service of process pursuant to Fed. R. Civ. P.

12(b)(5). (Doc. 86). The Defendant's outstanding motion to dismiss for failure to

state a claim under Fed. R. Civ. P. 12(b)(6) does not provide a basis for staying

discovery. Accordingly,

      IT IS ORDERED that the discovery stay imposed pursuant to the Court's

Order dated December 15, 201 7 is hereby terminated.

             DATED this .2f,!day of May, 2018.
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                                                r miah C. Lynch
                                                 ited States Magistrate Judge




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